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           EXHIBIT # 3
  Case 1:24-cv-03880-LDH-LKE Document 8-4 Filed 06/19/24 Page 2 of 3 PageID #: 268


  From: Lajewski, Leslie A. leslie.lajewski@ogletree.com
Subject: RE: Moyle, et al. v. UPS. 503187/2024
   Date: February 21, 2024 at 6:56 PM
     To: Tyrone Blackburn tblackburn@tablackburnlaw.com, Laura Watanabe LWatanabe@welgpllc.com


       Good evening Tyrone,

       I wanted to let you know that Ogletree is not authorized to accept service of the attached
       Complaint. You will need to serve it on UPS through their New York state agent.

       Regards,

       Leslie

       Leslie A. Lajewski | Ogletree Deakins
       10 Madison Avenue, Suite 400 | Morristown, NJ 07960 | Telephone: 973-630-2322
       leslie.lajewski@ogletree.com | www.ogletree.com | Bio


       From: Tyrone Blackburn <tblackburn@tablackburnlaw.com>
       Sent: Monday, February 12, 2024 1:29 PM
       To: Lajewski, Leslie A. <leslie.lajewski@ogletreedeakins.com>; Laura Watanabe
       <LWatanabe@welgpllc.com>
       Subject: Moyle, et al. v. UPS. 503187/2024

       [Caution: Email received from external source]

       Good afternoon Lisa,

       Wanted to inform you that the UPS class case has been filed in Kings County Court. The
       case is attached here. Will your client waive service of process?

       FYI, cases for Fari Murray, Danny Moyle, and Roy Welch were filed as well. I will send
       you those pleadings under a different email as they have different case numbers. Tyler Lilly
       and Travis Steele will both be filed this week as they are reviewing the pleadings.

       I am submitting Pro Hac applications for Kevin Mahoney, Rodney Diggs, and their
       colleagues.

       Regards,

       Tyrone A. Blackburn, Esq.
       T. A. Blackburn Law, PLLC.
       Phone: 347-342-7432
       TABlackburnlaw.com
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        Filed Complaint-
         Moyel…24.pdf
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    Filed Complaint-
     Moyel…24.pdf
